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                 IN THE UNITED STATES DISTRICT COURT FOR
                 THE DISTRICT OF THE DISTRICT OF COLUMBIA
____________________________________
                                     )
UNITED STATES,                       )
                                     )
      v.                             )   Crim. No. 21cr26
                                     )
CHISTOPHER ALBERTS,                  )
      Defendant.                     )
____________________________________)

                DEFENDANT’S SECOND STATUS REPORT REGARDING
            CONSENT MOTION TO WITHDRAW AND AMENDMENT THERETO

       Comes now John C. Kiyonaga, counsel for Defendant Christopher Alberts, and,

regarding Defendant’s earlier Motion to Withdraw (Doc 20) and amendment to same (Doc 21),

supplements his earlier report in compliance with the Court’s Minute Order of July 26 th, as

follows:

       Attached hereto, please find Defendant’s executed CJA-23 connoting his wish for

appointment of replacement counsel in accordance with Defendant’s Motion to Withdraw (Doc.

20).

                                                     Respectfully Submitted,

                                                     _____/s/____________
                                                     John C. Kiyonaga
                                                     600 Cameron Street
                                                     Alexandria, Virginia 22314
                                                     Telephone: (703) 739-0009
                                                     Facsimile: (703) 340-1642
                                                     E-mail: john@johnckiyonagaa.com
                                                     Counsel for the Defendant

                                 Certificate of Electronic Service

       I hereby certify that on August 6, 2021, I electronically filed the foregoing with the Clerk
of Court using the CM/ECF System, with consequent service on all parties.
                                                     ____/s/_____________
                                                     John C. Kiyonaga



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